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16                                UNITED STATES DISTRICT COURT

17                               NORTHERN DISTRICT OF CALIFORNIA

18                                     SAN FRANCISCO DIVISION

19 UNITED STATES OF AMERICA,                            Case No. 3:20-cr-00249-RS
20
                    Plaintiff,                          DEFENDANT ANDRADE’S PROPOSED
21                                                      VOIR DIRE QUESTIONS
            v.
22                                                      Judge: Hon. Richard Seeborg, Chief Judge
     ROWLAND MARCUS ANDRADE,
23
                    Defendant.
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     Defendant Andrade’s Proposed Voir Dire Questions                     Case Number: 3:20-cr-00249-RS
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 1          Mr. Andrade proffered questions 6-10 in the parties’ Joint Request for 10 Additional Jury
 2 Questionnaire Questions and seeks to ask follow-up questions as appropriate based on the

 3 venire’s answers to Mr. Andrade’s questionnaire entries. Additionally, Mr. Andrade seeks to ask

 4 the following questions, or questions to the same effect.

 5                                               PERSONNEL
 6          1. Trial is usually a stressful and emotional experience for the people involved,
 7               especially defendants and witnesses, and it can be hard for those people to control
 8               their non-verbal expressions and emotions. If you observed Mr. Andrade or any of his
 9               counsel have non-verbal or emotional reactions in court, would that influence you in
10               any way? How so?
11          2. Many people think it is important to always believe alleged victims of crimes when
12               they tell their stories. Do any of you agree with that? Is that a strongly held belief for
13               you?
14          3. Has anybody had poor experiences with defense attorneys in another case? What was
15               your experience?
16                                                 BURDEN
17          4. Sometimes jurors may think that a defendant is guilty but aren’t convinced beyond a
18               reasonable doubt, and that can be a difficult situation to be put in. Would you find it
19               difficult to vote not guilty in a case where you think that the defendant is probably
20               guilty, but not guilty beyond a reasonable doubt? Would having to vote not guilty in
21               that circumstance bother you mentally?
22          5. Is it your expectation that you’ll hear both sides of the story in this case? Would you
23               be comfortable making a decision in this case if you didn’t get to hear both sides?
24          6. Do you expect an innocent person would always testify in court, and tell his or her
25               side of the story?
26          7.   Even if you don’t expect an innocent person to testify, do you think you would still
27               wonder, even subconsciously, why they didn’t testify?
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 1                                          PREDISPOSITIONS
 2          8. Did you have any kind of internal reaction when reading the description of the
 3              charges in this case? What was that reaction?
 4          9. Have you ever felt misled by marketing into buying something later regretted buying?
 5              What was that experience? Did you think of that experience when you read the
 6              description of this case in the questionnaire?
 7          10. You may have heard before that there is no such thing as a “white lie,” and basically
 8              that all lies, no matter how big or small, are equally bad. Do you agree with that?
 9          11. Sometimes people make false claims while genuinely believing that their claims are
10              true. Do you agree that this happens?
11          12. A common phrase you may have heard before is, ““Never ascribe to malice what can
12              be explained by incompetence,” or in other words, don’t assume someone is
13              malicious when they may just not be that smart. Are you open to that idea?
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     DATED: January 24, 2025                                Respectfully submitted,
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                                                            /s/ Michael J. Shepard
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20                                                          Attorneys for Defendant
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     Defendant Andrade’s Proposed Voir Dire Questions                      Case Number: 3:20-cr-00249-RS
